              Case No. 1:22-cv-00581-CNS-NRN          Document 128-12       filed 02/27/24   USDC Colorado
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                                                Exhibit 12 [Docket 128]
                                          Pro Se Defendants Privilege Log
    Colorado Montana Wyoming State Area Conference of the NAACP, et. al. v. United States Election Integrity Plan, et. al
                                      Civil Action No. 1:22-cv-00581-CNS-NRN

#     Date        Doc.          File Name           From                      To                   Privilege    Privilege
                  Type                                                                              Claim      Description
1    2/3/24     Invoices   2022                     Reisch     Holly Kasun                         Attorney    Pro Se
                   (18     July Invoice            Law Firm    Hollyataltitude.protonmai.com        Client     Defendants
                months)    August Invoice                                                          Privilege   Attorney's
                           September Invoice                   Ashe Epp                                        Fees and
                           October Invoice                     Asheinamerica@protonmail.com                    Costs
                           November Invoice
                           December Invoice
                           2023
                           January Invoice
                           February Invoice
                           March Invoice
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                           May Invoice
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                           July Invoice
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